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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

 ROBERT D. GORDON, Receiver of
 the Estate of Gregory McKnight,
 LEGISI MARKETING, INC., AND
 LEGISI HOLDINGS, L.L.C.

                       Plaintiffs,

                                                            Case No. 09-10772
 vs.                                                        HON. GEORGE CARAM STEEH

 ELITE CONSULTING GROUP, L.L.C.
 a Florida limited liability company, et al.,

                       Defendants.

 _____________________________/

           ORDER DENYING DEFENDANT KAREN REDMAN’S MOTION FOR
                          RECONSIDERATION [#62]

        On March 16, 2011, this court denied defendant Karen Redman’s motion for

 attorneys’ fees. Defendant Redman now moves for reconsideration of this court’s March

 16, 2011 decision pursuant to E.D. Mich. L.R. 7.1(g)(3) arguing that there is a palpable

 defect by which this court was misled which necessitates reconsideration of defendant

 Redman’s request for attorneys’ fees.          Local Rule 7.1(g)(3) of the Local Rules of the

 United States District Court for the Eastern District of Michigan provides:

        [M]otions for rehearing or reconsideration which merely present the same
        issues ruled upon by the court, either expressly or by reasonable implication,
        shall not be granted. The movant shall not only demonstrate a palpable
        defect by which the court and the parties have been misled but also show
        that a different disposition of the case must result from a correction thereof.

 E.D. Mich. L.R. 7.1(g)(3). Defendant Redman has failed to demonstrate a palpable defect

 by which this court has been misled, the correction of which will result in a different
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 disposition of this case. Defendant Redman’s arguments have already been raised and

 rejected by the court.

        Accordingly,

        Defendant’s motion for reconsideration regarding defendant Karen Redman’s motion

 for attorneys’ fees [#62] is DENIED.

        Plaintiff-Receiver’s motion for leave to file response to defendant Redman’s motion

 for reconsideration [#63] is DENIED as moot.

        SO ORDERED.


 Dated: May 9, 2011
                                             /s/George Caram Steeh
                                             GEORGE CARAM STEEH
                                             UNITED STATES DISTRICT JUDGE


                                   CERTIFICATE OF SERVICE

                    Copies of this Order were served upon attorneys of record on
                         May 9, 2011, by electronic and/or ordinary mail.
                                       S/Marcia Beauchemin
                                            Deputy Clerk




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